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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 22-mi-00016-SMM


     UNITED STATES OF AMERICA

      V


     RALPH CASLER

                           Defendant


                                     CRIMINAL COVER SHEET

          Did this matter originate from a matter pending in the Central Region of the United
          States Attorney’s Office prior to August 9 2013 (Mag. Judge Alicia Valle)? No

     2. Did this matter originate from a matter pending in the Northern Region of the United
        StatesAttorney’s Office prior to August 8, 2014 (Mag Judge Shaniek Maynard)’ No

     3. Did this matter originate from a matter pending in the Central Region of the United
        StatesAttorney’s Office prior to October 3 2019 (Mag Judge Jared Strauss)2 No

                                          Respectfully submitted

                                          JUAN ANTONIO GONZALEZ
                                          UNITED STATES ATTORNEY

                                BY             /            A-


                                          Diana M. Acosta
                                          Assistant United States Attorney
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                                          101 South U.S. Highway 1, Suite 3100
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                                          Emai diana acosta@usdoj gov
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                         imnisi Complainc                                                                                     ‘\L S\ Diana \1. \costa


                                            UNITED STATES DISTRICT COUR I
                                                                           br the
                                                              Southern District of Florida

                    i~ ttited Stales of          \rnerica


                                                                             )      Cisc \o
                                                                                                22-m;-00016-SMM
                        RALPH CASLER.


                              I)’ii ‘zsIcsntlc


   CRIMINAL COMPLAINT BY TELEPhONE OR OTHER RELIABLE FLECTRO~IC MEANS

          I. the complainant in thk case. slate that the follo\% ing is true to the                     1%   kno” ledge and belief.
  )n or aho itt the (late(s) of                        April16 2019                 in the colInt\ of               Martin County
     Southern             District    of                Florida            the defendant(s) violated;

             (   oc/t   Scuthn                                                         offence Deceripticni
     18USC          § 2197                                        Misuse of Federal certificate I cense or document




          This criminal complaint is based on these facts:

                                                             -SEE ATTACHED AFFIDAVIT-




                 Continued on t ~e attached sheet




                                                                                               Caleb D King. Specia Agent CGIS
                                                                                                         I’rifltc(I     ?I(1’?it’ (It    I I



    ested to in the applicant in accordance with the requireii em ot I ed. R. Crim. P. 4.1 in Telephone—i acetinie.


  Date     February 17, 2022
                                                                                                             .Ii,c/g.    .% s(gIlcIUit



 Cit’ and state:                             Fort Pierce Flortda                           Shaniek M Maynard U S. Magistrate Judge
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                                                AFFIDAVIT
             I. Caleb D. King. being duly sworn, do state and attest as lollows:
             I am a Special Agent with the Coast Guard Investigative Service (CGIS). Prior to my
     emplo~ merit with (‘GIS. I was a Special Agent with the Defense Criminal Investigative Sen ice
     (DCIS) for 7 sears and the United States Army Criminal Investigation Division Command
     (USACIDC) for 1.5 years. I am a graduate of USACIDC’s Special Agent Course at Fort Leonard
     Wood. Missouri. and the DCIS Special Agent Basic l’raining Program at the Federal La~~
     Enforcement Training (‘enter. I also obtained a Juris Doctorate degree in 2020.
     2.      Mv law enforcement authority is derived from Title 14, United States Code. Section 525
     which grants CGIS Special Agents law enforcement authority for any crime committed ;~ithin the
     authority of the United States Coast Guard.       Throughout my law enforcement career. I have
     received training on the investigation of offenses related to fraudulent Government documents and
     have conducted several investigations related to the use of forged Go~ ernnient documents.
     3.      [his affidavit is submitted in support of an application for a Criminal Complaint charging
     RALPI I CASLER (‘CASLER”) with using a forged Coast Guard Merchant Mariner Document in
     violation of Title 18. United States Code. Section 2197011 or about April 16. 2019. in the Southern
     District of Florida.
     4.      [his aflidavit is based on my personal investigation and on information obtained from
     witnesses. documents. information obtained through the issuance of Federal Grand Jury
     Subpoenas. a search warrant, and public records. Because this affidavit is being submitted for the
     limited purpose of establishing probable cause. it does not contain each and even detail about this
     investigation of which I am aware.

                                      STATUTORY BACKGROUNI)

     5.      Title 18. United States (‘ode. Section 2197. makes it illegal to forge. counterfeit. or steal.
     or attempt to forge. counterfeit, or steal any certificate. license, or document issued to vessels, or
     officers or seamen by any officer or employee of the United States authorized by law to issue the
     same: or to unlawfully possess or kno~~ingly use any such altered. changed. forged. counterfeit or
     stolen certificate. license, or document. The United States Coast Guard (USCG) is authorized to
     issue Merchant Mariner Credentials and Licenses (MMCI under Title 46. United States Code.
     Section 7101.
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    6.      All mariners employed aboard United States merchant vessels that are 100 Gross Register
    Tons (domestic tonnage) or greater. except operators of uninspecied passenger vessels, are
    required to haveavalid USCG Merchant Marine Credential (MMC)’                     An MMC is also required
     for a vessel operator who wishes to charge a fee for up to six passengers on an uninspeeted vessel.
     Many insurance companies that insure large recreational vessels require that a captain transporting
     a vessel of this tonnage on behalf of the owner hold an appropriate USCG MMC.

                                               PROBABLE CAUSE

     7.      In May of 2019. Ralph CASLER. a resident of Saint Lucie County. Florida. was hired as
     the delivery captain to transport a 64-foot Sunseeker yacht from the Southern District of Florida
     to Michigan by D.K. who had purchased the vessel in l3roward County.
     8.      D.K. contacted a vessel insurance company (“Company F’) located in Broward to insure
     the vessel. To insure the vessel. Company I required the ~essel delivery captain to have a ~alid
     and current USCG MMC.
     9.      On October 6. 2020. 1 interviewed D.K. According to D.K.. in response to DEC’s request
     lhr such a license. CASLER cmailed DEC a copy of USCG MMC#8297982. purportedly issued to
     CASLER on August 15. 2016 by Cl.. Russel. (~Ofticcr in Charge of Marine Inspections”) in
     Miami. Florida.
     10.     According to DL. CASLER emailed a copy of USCG MMC#829798 to his email. D.K.
     rceei~ ed the email from CASLER sometime in April of 2019. Company I received an email from
     l).K.. dated April 16. 2019. which attached CASLER’s MMC. Company 1 forwarded me a copy
     this email and the attachment. This email contained no information regarding CASLER’s email
     address or communications with IlK.
      II.    Although l).K. attempted to contract with Company I to insure the vessel. Company 1
     recognized CASIJiRs license as fake and reported it to the USCG. According to Company I.
     I).K. did not obtain insurance from Company I for the delivery of his vessel.
      12.     On October 6.2020. 1)1K. cmailed me a copy of the forged MMC D.K. had received from
      CASLER via email and an invoice, dated iune 25. 2019. from CASLFR for services related to the



        Prior to 2009. Iiccnscs to operate commercial essels issued tn the USUG were commonly called Merchant Mariner
      Licenses.
        This document is in the fomiat of the legacy Merchant Mariner License hut will he relcrrcd to as an MM( for
      sini pl icitv in this aftidav it.
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    transport of D.K.s vessel. D.K.’s October 6.2020 email did not include the email communications
    with CASLER or CASLEWs email address or any metadata associated with this communication.
    D.K. refused to provide the original email, which would have contained CASI.ERs email address
    and associated metadata.
    13.     MMCs are issued and maintained by the USCCIs National Maritime Center (NMC)
    located in Martinsburg. West Virginia. The National Maritime Center has no record of CASLER
    ever holding an MMC.
    14.     On October 6. 2020, I conducted a non-custodial video recorded interview of CASLER
    outside his residence in Saint Lucie County. During this interview. CASLER admitted to forging
    the license for insurance coverage purposes and providing a copy to D.K. CASLER admitted to
    delivering D.K.s vessel to Michigan in June of 2019 and complained that D.K. had never paid
    CASLER for the delivery. CASLER also told me that he had deleted the email communications
     with IlK.
     15.    (‘ASLER admitted to making the forgery from a real Merchant Mariner 1.icense that
     belonged to F.T.2 According to CASLER. he made the forgery of F.T.~s license after F.T. passed
     away several years ago during which time CASLER was able to access the license. CASLER also
     admitted to using the forged license several times in the past. CASLER advised that he never
     applied for an MMC since he had failed one of the written tests required for licensure because he
     reads letters backwards.
     16.    On November20. 2020. a federal search was to issued to Microsoft to produce emails from
     D.K. Records provided by Microsoft show CASLER~s email account forwarded an email with the
     forged MMC to C.B. on April 16. 2019. C.B. was the yacht salesperson who brokcred the sale of
     the Sunseeker yacht to D.lC. The email indicates it was sent from the wireless internet of the
     Wrightsville Beach Marina. in Wrightsville Beach. North Carolina.
      17.    Records produced by Google for CASLER~s email account show the recovery phone
     number for CASLER’s email is the same phone number. ending with 9553. that I have
     communicated with CASLER on.
      18.    On April 16. 2019. C.B. forwarded the email with the attached forged MMC to D.K.
      According to the email header information, the email was sent from Wrightsville Beach. North
      Carolina.
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     19.    On \pril 16. 2019. I).K. emailed the forged \1\IC to I .1   .   who worked bOY!. a ~acht
    insurance broker located in Fort I auderdale. I3roward Counts. Florida in the Southern District of
    I lorida.
    20.         On April 16. 2019. I.E. emailed the Iorged MMC to NI. I.. who worked br \IPC.
     insurance company. Mi. was located in I-lobe Sound. Martin Count). Florida in the Southern
     District of Florida when he recei\ ed this email.
     21.        Records produced h~ Bank of \merica show CASI FR made se\eral debit card purchases
     in \orth Carolina around \prii 16. 2019



                ILRI1lFRS\Y[llI\Ol_R\FIl”~”~I’%’i Gill



                                                          Caleb D Kii~
                                                          Special Agent
                                                                                   J
                                                          U.S Coast Guard ln~estigati~e Ser~ ice


             Sworn to before me. h~ be ephone and ideo conference. in accordance with the
                                                                                17th
      requirements of Rule 4.1 of the Federal Rules of Criminal Procedure. this      day ol I ebruar~
      2022.



                                                           SIIA’sILK M. MAYNARD
                                                           i niied States Magistrate Judge
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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                              CASE NUMBER: 22~mj-OOOi6-SMM

                                  BOND RECOMMENDATION



     DIII \DA\ I:           Rat h Casler


                            $ 75.000 PSB
                            (Personal Suret’ (Corporate Surety) (Cash) (Pre- I nat Detention)


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      \gent(s):              S ecial A ‘ci I Caleb I). Kima. CGIS
                             (COAST C1 \RD INVESTIGATIVE SER~ ICEHT)IIS)(IRS)(OI IILR)
